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                                           UNITED STATES DISTRICT COURT
                                          CENTRAL DISTRICT OF CALIFORNIA
                                               CRIMINAL MINUTES - GENERAL




 Case No.         16-MJ-1394-1                                                                 Date    July 26, 2016


 Present: The Honorable        Jean P. Rosenbluth, United States Magistrate Judge
 Interpreter       N/A

            Bea Martinez                           CS 7/26/2016                                   Andrew Brown
                Deputy Clerk                    Court Reporter/Recorder                         Assistant U.S. Attorney



                U.S.A. v. Defendant(s):          Present Cust. Bond          Attorneys for Defendants:         Present App. Ret.

Fabrice Felix Stephane Touil                        X      X                     Mark A. Byrne                      X                X



 Proceedings:       Status Conference Re Extradition


         Case called. Counsel make their appearances. Defendant is present and in custody. Defendant is sworn.

      The Court questions the defendant regarding the waiver. The Court finds that the waiver is
knowing and voluntary.

         The defendant is remanded to the U.S. Marshal for extradition to France as soon as possible.


         It is so ordered.




                                                                                                                :         10

                                                                    Initials of Deputy Clerk     bm


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